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              In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 17-655V
                                       (UNPUBLISHED)

    ************************* *
                                *
    ARDENA WHITE,               *
                                *                          Special Master Katherine E. Oler
                                *
                    Petitioner, *                          Filed: November 22, 2019
                                *
    v.                          *
                                *                          Decision on Stipulation; Entitlement;
    SECRETARY OF HEALTH AND     *                          Damages; Tdap; SIRVA; Shoulder Injury
    HUMAN SERVICES,             *                          Related to Vaccine Administration; Lump
                                *                          sum.
                                *
                    Respondent. *
                                *
    ************************* *

Edward Kraus, Law Offices of Chicago-Kent, Chicago, IL, for Petitioner.
Camille Collett, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                                  DECISION ON STIPULATION1

        On May 18, 2017, Ardena White (“Petitioner”) filed a petition seeking compensation under
the National Vaccine Injury Compensation Program (“the Vaccine Program”).2 Pet., ECF No. 1.
Petitioner alleges that she suffered a shoulder injury related to vaccine administration (SIRVA) as
a result of the Tdap vaccination she received on June 30, 2014. Id.



1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend to
post this decision on the United States Court of Federal Claims’ website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2012)). This means the ruling will be available to anyone with access to the
internet. As provided by 42 U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the decision’s
inclusion of certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party
has fourteen days within which to request redaction “of any information furnished by that party: (1) that is
a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). Otherwise, the Decision in its present form will be available. Id.
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood
Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C.A. ' 300aa-
10-' 300aa-34 (West 1991 & Supp. 2002). All citations in this decision to individual sections of the Vaccine
Act are to 42 U.S.C.A. ' 300aa.
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       Respondent denies that Petitioner sustained a SIRVA Table injury or that the Tdap
immunization caused Petitioner’s shoulder injury or any other injury. Stip. ¶ 6, dated November
22, 2019, ECF No. 49.

        Nonetheless both parties, while maintaining their above-stated positions, agreed in a
stipulation filed on November 22, 2019 that the issues before them can be settled and that a
decision should be entered awarding Petitioner compensation. Stip. ¶ 7.

        I have reviewed the file, and based upon that review, I conclude that the parties’ stipulation
is reasonable. I therefore adopt it as my decision in awarding damages on the terms set forth
therein.

       The stipulation awards:

       1.    A lump sum of $50,000.00 in the form of a check payable to Petitioner.

Stip. ¶ 8. This award represents compensation for all damages that would be available under 42
U.S.C. § 300aa-15(a).

        I approve a Vaccine Program award in the requested amount set forth above. In the absence
of a motion for review filed pursuant to RCFC Appendix B, the Clerk of the Court is directed to
enter judgment herewith.3

       IT IS SO ORDERED.

                                                               s/ Katherine E. Oler
                                                               Katherine E. Oler
                                                               Special Master




3
 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice of
decision not to seek review.
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